Case 2:17-cv-00007-DAK-JCB Document 79 Filed 10/20/20 PageID.897 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF UTAH


KRISTINA ZEMAITIENE,
                                                       ORDER ADOPTING & AFFIRMING
                      Plaintiff,                       REPORT & RECOMMENDATION

v.                                                         Case No. 2:17-CV-7-DAK-JCB

SALT LAKE COUNTY, ET AL.,                                       Judge Dale A. Kimball

                      Defendants.                        Magistrate Judge Jared C. Bennett




       This case was assigned to United States District Court Judge Dale A. Kimball, who then

referred it to United States Magistrate Judge Paul Warner under 28 U.S.C. § 636(b)(1)(B). Due

to Magistrate Judge Warner’s retirement, the case was referred to Magistrate Judge Jared C.

Bennett. On September 24, 2020, Magistrate Judge Bennett issued a Report and

Recommendation, recommending that the court grant Defendant Off Duty Services, Inc.’s

Motion to Dismiss [ECF No. 72] and deny Plaintiff’s Motion to Strike [ECF No. 73].

       The Report and Recommendation notified Plaintiff that any objection to the Report and

Recommendation was required to be filed within fourteen days of receiving it. Although the

court mailed the Report and Recommendation to Plaintiff twenty-six days ago, Plaintiff has not

objected to the Report and Recommendation. There is some question as to whether Plaintiff is

aware of the Report and Recommendation because it was returned to the court as undeliverable.

However, Plaintiff has a duty to keep a current address on file with the court and to prosecute her

case. Her failure to do so cannot preclude the court from proceeding with its duty to review the
Case 2:17-cv-00007-DAK-JCB Document 79 Filed 10/20/20 PageID.898 Page 2 of 2




Report and Recommendation.

       The court has reviewed the two pending motions de novo and agrees with the analysis of

the Report and Recommendation in its entirety. The court, therefore, adopts the Report and

Recommendation as the Order of the court. Accordingly, the court denies Plaintiff’s Motion to

Strike [ECF No. 73] and grants Defendant Off-Duty Services’ Motion to Dismiss [ECF No. 72].

Plaintiff’s claims against Off-Duty Services are dismissed with prejudice.

       DATED this 20th day of October, 2020.

                                             BY THE COURT:



                                             DALE A. KIMBALL
                                             United States District Judge




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